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                           SO ORDERED: July 9, 2020.




                           ______________________________
                           Robyn L. Moberly
                           United States Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

IN RE:

JASON RAY GISELBACH,                                     CASE NO. 19-04350 RLM-13

DEBTOR(S)

                       ORDER GRANTING DEBTOR’S APPLICATION
                        TO EMPLOY SPECIAL COUNSEL (DOC. 35)

         This matter came before the Court on the Debtor’s Application to Employ Special

Counsel (Doc. 35) filed on 5/19/2020;

         And the Court, being duly advised in the premises, and after determining that counsel's

motion is in the best interest of the estate and said counsel does not represent or hold any adverse

interest to the debtor or the estate with respect to which said attorney is being employed pursuant

to 11 U.S.C. §327(e), therefore,

                ORDERS, that the following attorney be, and hereby is appointed to represent the

Debtor in the latter’s separate cause of action now pending against a third party or parties, as

more specifically noted in said counsel's Application to Employ: Cynthia S. Rose. It is further
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               ORDERED that upon settlement or receipt of suit proceeds, counsel shall

immediately give the Court and the Standing Chapter 13 Trustee written notice of same. And it

is further

               ORDERED that counsel shall pay over the entire settlement funds to the Chapter

13 Trustee. It is further

               ORDERED that the Chapter 13 Trustee will then immediately file with the court a

Motion to Approve Compromise and Settlement and Application for Approval of

Compensation/Expense for Special Counsel.

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